     Case 2:13-cr-00096-RHW            ECF No. 1088         filed 07/27/16     PageID.3713 Page 1 of 2
 PROB 12C                                                                               Report Date: July 27, 2016
(6/16)

                                       United States District Court

                                                      for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Steven Edwin Bronowski                   Case Number: 0980 2:13CR00096-RHW-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: October 24, 2013
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 6 months;                Type of Supervision: Supervised Release
                          TSR - 60 months

 Revocation               Prison - 12 months;
 Sentence:                TSR - 48 months

 Revocation               Prison - 7 months;
 Sentence:                TSR - 41 months
 Asst. U.S. Attorney:     Aine Ahmed                        Date Supervision Commenced: October 2, 2015
 Defense Attorney:        Richard D. Wall                   Date Supervision Expires: March 1, 2019


                                         PETITIONING THE COURT

               To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 12/22/2015, 12/29/2015, 06/17/2016, 06/27/2016 and
07/14/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            8           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On July 13, 2016, the U.S. Probation Office in Spokane received
                        notification from Spokane County Sheriff’s Office Detention Services that Mr. Bronowski’s
                        name had been run by their agency. A police report was requested, and on July 18, 2016,
                        the completed report was received. According to the police report, and attached charging
                        request and witness list, on July 12, 2016, a detective with the Spokane County Sheriff’s
                        Office was investigating an unrelated shooting, at which time the detective began listening
                        to Spokane County Jail calls associated with a specific number.
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                     During the course of the investigation, several phone calls were identified as being made to
                     Ms. Amy Altona by Mr. Steven Bronowski using the “pin number” of other jail inmates. The
                     detective determined through voice verification on other phone calls in which Mr.
                     Bronowski identified himself by name that the voice on the phone was in fact Mr.
                     Bronowski. Mr. Bronowski currently has an active no contact order with Ms. Amy Altona,
                     due to an ongoing investigation regarding a current domestic violence incident alleged to
                     have occurred between the two parties that was the basis for the violation report provided
                     to the Court on July 14, 2016.

                     In one of the phone calls Mr. Bronowski is heard informing Ms. Altona “If Amy doesn’t
                     show up to Court... or whatever Amy shows up to Court and says it didn’t happen... it all
                     goes away.” Mr. Bronowski later asks Ms. Altona “Are you on board?” The report concludes
                     that there is probable cause to charge Mr. Bronowski with tampering with a witness, as well
                     as the misdemeanor no-contact order violations resulting from his continued contact with the
                     protected party. Tampering with a Witness is a violation of RCW 9A.72.120, and is a Class
                     C Felony. Violation of a no contact order is a violation of RCW 26.50.110, and is a gross
                     misdemeanor. Mr. Bronowski is currently scheduled to be arraigned on these charges on July
                     26, 2016.


                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     July 27, 2016
                                                                           s/ Chris Heinen
                                                                           Chris Heinen
                                                                           U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ 9]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ 9]     Defendant to appear before the Magistrate Judge.

                                                                           Signature of Judicial Officer

                                                                               +VMZ 
                                                                           Date
